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                                           U.S. Department of Justice


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                                            Special Prosecutions Division


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                                            November 25, 2019

The Honorable Michael A. Shipp
United States District Judge
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

            Re:   United States v. Joseph Kenny Batts
                  Crim. No. 18-215 (MAS)

Dear Judge Shipp:

       Please accept this letter brief in opposition to defendant Joseph Kenny
Batts’s (“Batts”) motion for a judgment of acquittal pursuant to Fed. R. Crim. P.
29(c) and in opposition to his motion for a new trial pursuant to Fed. R. Crim. P.
33(a). The Court should deny Batts’s motion for a judgment of acquittal because,
by any standard of review—let alone the highly deferential one required by Rule
29—there was very substantial evidence presented at trial to prove the offenses
charged beyond a reasonable doubt. Batts’s motion for a new trial also should
be denied because the weight of the evidence clearly supports the jury’s guilty
verdict.

I.    Background

      On April 13, 2018, a grand jury returned an indictment charging Batts
with one count of conspiracy to impede, impair, and defeat the lawful functions
of the Internal Revenue Service (“IRS”) to ascertain, assess, collect, and refund
income taxes, in violation of 18 U.S.C. § 371 (Count 1), and five counts of aiding
and assisting in the preparation and presentation to the IRS of false federal
income tax returns, in violation of 26 U.S.C. § 7206(2) (Counts 2 through 6).
The charges stemmed from Batts’s and his co-conspirators’ preparation of false
federal tax returns for clients at Tax Pro’s and Tax Solutions and Associates
(“TSA”), and the submission of phony Forms 1098-T to support false education
credits that Batts and his co-conspirators claimed on the tax returns.
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      Trial commenced with jury selection on September 9, 2019.                 The
Government called its first witness on September 11, 2019 and rested on
September 16, 2019. After the Government rested, Batts moved for a judgment
of acquittal on Counts 1 to 6 in the Indictment. The Court reserved decision on
that motion. Thereafter, Batts rested without calling any witnesses. The jury
began its deliberations on September 17, 2019 and that same day returned a
verdict finding Batts guilty of all counts. After the jury returned the verdict, the
Court denied Batts’s motion under Rule 29. See Trial Transcript (“Tr.”) at
923:16-18.

      The Government’s evidence at trial consisted of testimony by fifteen
witnesses 1 and the presentation of various records, including: false federal
income tax returns that Batts prepared; a recording of Batts preparing a false
federal income tax return for an undercover IRS agent; phony Forms 1098-T filed
with the IRS on behalf of Tax Pro’s and TSA’s clients to support false education
credits; phony Forms 1098-T recovered from Batts’s computer; artifacts of email
correspondence to Batts regarding Forms 1098-T; and summary charts showing
the losses to the IRS caused by the false tax returns that Batts prepared and
caused to be filed. The summary of the Government’s evidence, as contained in
the Government’s summation, is incorporated herein. Tr. at 818-867.

II.      Batts’s Motion for Judgment of Acquittal Should Be Denied Because
         The Jury’s Verdict Was Supported by Substantial Evidence

       Batts’s motion for a judgement of acquittal was properly denied by this
Court and should be denied again. “After the government closes its evidence or
after the close of all the evidence, the court on the defendant’s motion must enter
a judgment of acquittal of any offense for which the evidence is insufficient to
sustain a conviction.” Fed. R. Crim. P. 29(a). “The burden on a defendant who
raises a challenge to the sufficiency of the evidence is extremely high.” United
States v. Lore, 430 F.3d 190, 203-04 (3d Cir. 2005) (quotation omitted). In
evaluating a defendant’s Rule 29 motion, “a court must be ever vigilant . . . not
to usurp the role of the jury by weighing credibility and assigning weight to the
evidence, or by substituting its judgment for that of the jury.” United States v.
Flores, 454 F.3d 149, 154 (3d Cir. 2006) (quoting United States v. Brodie, 403
F.3d 123, 133 (3d Cir. 2005)). Instead, the Court “must view the evidence and
the inferences logically deducible therefrom in the light most favorable to the
government,” United States v. McNeill, 887 F.2d 448, 450 (3d Cir. 1989), and
must resolve all credibility issues in the government's favor, United States v.
Scanzello, 832 F.2d 18, 21 (3d Cir. 1987). The evidence presented at trial,
consisting of Batts’s clients’ testimony, co-conspirators’ testimony, corroborative


1Rather than recount all of the testimony, the Government will focus on the witnesses
whose testimony bears most directly on the instant motions.
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testimony from other witnesses, IRS records, computer evidence, and the
undercover recording, was more than sufficient to sustain the conviction.

       Under Rule 29, the Court’s inquiry is “limited to determining whether the
conclusion chosen by the factfinders was permissible,” United States v. Ashfield,
735 F.2d 101, 106 (3d Cir. 1984), and the jury’s verdict must be upheld as long
as “any rational trier of fact could have found proof of guilt [] beyond a reasonable
doubt based on the available evidence.” United States v. Claxton, 685 F.3d 300,
305 (3d Cir. 2012) (quotation omitted). A finding that the evidence was
insufficient should “be confined to cases where the prosecution’s failure is clear.”
Brodie, 403 F.3d at 133 (quotation omitted).

       There was abundant evidence to support the jury’s verdict on all six counts
of the Indictment. The Government proved beyond a reasonable doubt each of
the following elements of conspiracy:

      First: That two or more persons agreed to defraud the United States;

      Second: That Batts was a party to or member of that agreement;

      Third: That Batts joined the agreement or conspiracy knowing of its
      objective to defraud the United States and intending to join together to
      achieve that objective; that is, that Batts shared a unity of purpose and
      the intent to achieve a common goal or objective, to defraud the United
      States; and

      Fourth: That at some time during the existence of the agreement or
      conspiracy, at least one of its members performed an overt act in order to
      further the objective of the agreement.

See Tr. at 790-91.

        The jury heard from two of Batts’s co-conspirators who provided ample
evidence to support Count 1. Damien Askew and Rudolph Sanders, tax
preparers at Tax Pro’s, testified that they conspired with Batts to prepare and
file false federal income tax returns. Askew testified that Batts taught him to
prepare false federal tax returns using fabricated credits for education and
childcare, phony deductions, such as charitable contributions, and false
Schedule C business losses, and that they continued to prepare false tax returns
together until Askew left Tax Pro’s in 2015. Tr. at 308-10; 412-13.

       Askew also testified that he and Batts agreed to have Batts’s girlfriend,
Christine Johnson, create bogus Forms 1098-T to submit to the IRS to conceal
the fraudulent nature of the education credits that they included on their clients’
tax returns. Tr. at 349-52. Askew explained to the jury that he or Batts provided
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Johnson with the information that she needed to create the forms, and she
emailed the completed forms to the Tax Pro’s email address. Tr. at 351-52.
Askew was corroborated by the testimony of IRS Special Agent James Mann, who
introduced evidence obtained from Batts’s workplace computer.            Batts’s
computer contained false Forms 1098-T for various taxpayers as well as evidence
of emails sent from “cjohnson570” to the Tax Pro’s email account regarding
various Forms 1098-T. Tr. at 617-22; 626-31.

       Sanders testified that, at Batts’s instruction, he prepared tax returns for
clients using false deductions and credits to decrease clients’ tax liability. Tr. at
517-519. Sanders also testified regarding a specific instance where he witnessed
Batts include a false education credit on a client’s tax return. Tr. at 520.
Sanders testified that he stopped working at Tax Pro’s after a heated argument
where Batts told Sanders that there was no need to keep Sanders at the office
because Sanders was not preparing taxes the way that Batts wanted him to—
meaning with false information. Tr. at 524-25.

       Batts argues that a judgment of acquittal on Count 1 is required because
while the evidence established that Askew and Sanders conspired to defraud the
United States, there was insufficient evidence that Batts was a member of that
conspiracy. Def. Br. at 4-6. Batts’s argument must fail. The testimony of Askew
and Sanders, corroborated by the computer evidence as well as the multiple false
Forms 1098-T filed on behalf of Tax Pro’s clients, prove that Batts was a very
active member of the conspiracy charged in Count 1. See United States v. Carr,
25 F.3d 1194, 1201 (3d Cir. 1994) (noting that Government can prove
defendant’s membership in a conspiracy using circumstantial evidence); United
States v. Kapp, 781 F.2d 1008, 1010 (3d Cir. 1986) (“While the government must
establish the elements of conspiracy beyond a reasonable doubt, this can be
done entirely through circumstantial evidence.”).

       There also was overwhelming evidence that Batts was guilty of Counts 2
to 6 of the Indictment, aiding or assisting in the preparation of false federal
income tax returns in violation of Title 26, United States Code, Section 7206(2).
For those counts, the Government proved beyond a reasonable doubt the
following elements:

      First: That Batts aided or assisted in, or procured, counseled, or advised
      the preparation of federal income tax returns which were subsequently
      filed with the IRS;

      Second: That the returns were false or fraudulent as to any material
      matter;

      Third: That Batts did not believe that the returns were true and correct as
      to those material matters; and
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      Fourth: That Batts acted willfully.

See Tr. at 797.

       The Government’s witnesses included four clients of Batts (the “taxpayer
witnesses”), including the three taxpayers referenced in Counts 2 to 6. Each of
the taxpayer witnesses testified that Batts prepared their federal income tax
returns, and that the tax returns contained false information that they did not
provide to Batts, including education and childcare credits, charitable
contributions, and false Schedule C business losses. See, e.g., Tr. at 42-44, 47-
50, 55-59, 171-72, 178-79, 181-82, 184-85, 454-56, 460, 465-66, 570-73, 589-
91. IRS Revenue Agent Robert Illuzzi testified to the materiality of the false
information, and the losses to the IRS as a result of Batts’s conduct. See, e.g.,
Tr. at 744.

      In his motion, Batts argues that no rational jury could find that he willfully
prepared false tax returns, and that he had no knowledge of the material
falsehoods contained in the tax returns. Def. Br. at 7. This position is completely
belied by the overwhelming evidence that Batts intentionally included false
deductions and credits on his clients’ tax returns.

       In addition to the taxpayer witnesses’ testimony and records (for example,
M.C.’s records of her charitable donations, which were thousands of dollars less
than the deductions that Batts claimed), the jury heard Batts prepare a false
return in real time. IRS Special Agent Breon Brewster, who posed as a Tax Pro’s
client and recorded Batts preparing a false tax return, testified that Batts
included false information on the tax return that Batts prepared for him. This
false information included a bogus education credit at Lincoln Technical
Institute, the same institution falsely claimed on J.A.’s and J.S.’s tax returns.
Tr. at 43, 58-59, 62, 151-52, 571. The jurors heard for themselves as Brewster
told Batts that he did not attend college, and then saw the tax return that Batts
prepared with the false education credit for Lincoln Technical Institute. This
incontrovertible evidence corroborated the taxpayer witnesses’ descriptions of
Batts’s method of including false information on tax returns.

        The jury also heard that Batts made efforts to conceal his identity as the
preparer of the false tax returns—significant evidence of his consciousness of
wrongdoing. Batts’s co-conspirators, the taxpayer witnesses, and Brewster all
testified that Batts was using other tax preparers’ preparer tax identification
numbers (“PTIN”), which had the effect of concealing his identity as the person
who actually prepared the tax returns. Askew testified that he allowed Batts to
continue to use his PTIN to prepare tax returns for Tax Pro’s clients, even though
he knew that Batts was using the PTIN to prepare false tax returns. Tr. at 342.

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      In sum, there was abundant evidence to prove Batts guilty of all six counts
in the Indictment beyond a reasonable doubt. The Court, particularly viewing
this abundant evidence in the light most favorable to the Government, should
deny Batts’s motion for a judgment of acquittal.

III.   Batts’s Rule 33 Motion Should be Denied Because the Weight of the
       Evidence Clearly Supports the Jury’s Verdict

       Fed. R. Crim. P. 33(a) provides that the district court “may vacate any
judgment and grant a new trial if the interest of justice so requires.” Fed. R.
Crim. P. 33(a). When evaluating a Rule 33 motion, the district court “does not
view the evidence favorably to the Government, but instead exercises its own
judgment in assessing the Government’s case.” United States v. Johnson, 302
F.3d 139, 150 (3d Cir. 2002). The authority to grant a new trial pursuant to
Rule 33, however, is limited to those instances where the Court “believes that
there is a serious danger that a miscarriage of justice has occurred—that is, that
an innocent person has been convicted.” Id. (quotation omitted). “Thus, motions
for a new trial based on the weight of the evidence are not favored” and should
be “granted sparingly and only in exceptional cases.” United States v.
Salahuddin, 765 F.3d 329, 346 (3d Cir. 2014) (quotation omitted).

       Batts’s motion is based on his claim that the taxpayer witnesses and
Batts’s co-conspirators all lacked credibility. Def. Br. at 8-9. The type of
manifest injustice contemplated by Rule 33 cannot be found, however, simply
on the basis of the trial judge’s determination that certain testimony is
incredible, unless the judge, after evaluating the totality of the case, is prepared
to answer “no” to the following question: “Am I satisfied that competent,
satisfactory and sufficient evidence in this record supports the jury’s finding that
this defendant is guilty beyond a reasonable doubt?” United States v. Bell, 584
F.3d 478, 483 (2d Cir. 2009) (per curiam) (quoting United States v. Sanchez, 969
F.2d 1409, 1414 (2d Cir.1992)). Thus, while the Court may assess the credibility
of witnesses in evaluating a defendant’s Rule 33 motion, given that the new trial
remedy is a sparing one, its application on witness credibility grounds must be
limited to truly “exceptional” circumstances, Salahuddin, 765 F.3d at 346. Even
where testimony is “patently incredible or defies physical realities” and is
therefore rejected by the Court, a defendant is still not necessarily entitled to a
new trial. Sanchez, 969 F.2d at 1414; see also United States v. McCourty, 562
F.3d 458, 475-76 (2d Cir. 2009). Moreover, a jury’s apparent decision to credit
testimony despite impeachment efforts is an important consideration supporting
the denial of a Rule 33 motion, like this one, that is based solely on a challenge
to witness credibility. See United States v. Friedland, 660 F.2d 919, 931-32 (3d
Cir. 1981).

      Here, none of the taxpayer witnesses were impeached on any major details,
and their testimony could not possibly be characterized as “patently incredible.”
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See Sanchez, 969 F.2d at 1414; see also United States v. Vas, 497 Fed. App’x.
203, 206 (3d Cir. 2012) (unpublished) (affirming district court’s denial of Rule
33 motion despite minor inconsistencies and weaknesses in Government
witnesses’ testimony). Neither did Batts cast doubt on the co-conspirators’
testimony that Batts was a charter member of this conspiracy to defraud the
IRS. That was, in part, because Batts’s co-conspirators’ corroborated one
another on this key point and were further corroborated by the other substantial
evidence in the case, including records obtained from Batts’s own computer and
the recording of Batts preparing a false return exactly as his co-conspirators and
the taxpayer witnesses described.

       The documentary and audio evidence corroborating Askew and Sanders
was unimpeachable, and the testimony of Batts’s clients cemented the evidence
of his fraudulent intent and willfulness. This evidence leaves no doubt about
why the jury properly found Batts guilty on all counts. There was no manifest
injustice here. Accordingly, Batts’s motion for a new trial should be denied.

IV.   Conclusion

       The Government adduced extremely substantial evidence of Batts’s guilt
on all counts charged in the Indictment. Thus, the Court should deny his motion
for a judgment of acquittal. Moreover, Batts’s challenge to the credibility of his
co-conspirators’ and the taxpayer witnesses’ testimony falls well short of
establishing that the verdict was against the weight of the evidence. Accordingly,
Batts’s motion for a new trial also should be denied.


                                            Respectfully submitted,


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                                            /s/ Cari Fais

                                       By: Cari Fais
                                           Jihee Suh
                                           Assistant United States Attorneys


cc:   Mark Davis, Esq.




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